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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 09-177

DALTON BENNETT, ET AL.                                              SECTION “N”


                                   ORDER AND REASONS

       Before the Court is Lance Bennett’s Motion to Exclude Expert Testimony (Rec. Doc. 136).

This motion is opposed. (See Rec. Doc. 141). In this motion, the Defendant Lance Bennett moves

to exclude the testimony of the Government’s experts, or alternatively to set a Daubert hearing to

determine the admissibility of their opinions, to order the Government to provide Defendant with

a description of each opinion and the basis therefor, and to limit the testimony of these experts.

After considering the memoranda of counsel and the applicable law,

       IT IS ORDERED that Lance Bennett’s Motion to Exclude Expert Testimony (Rec.

Doc. 136) is DENIED, for substantially the same reasons set forth by the Government in its

opposition to the instant motion. (See Rec. Doc. 141).

       On the showing made, a Daubert hearing does not appear necessary. However, defense

counsel may submit a short memorandum stating the specific bases for the attack on the

Government’s expert witness (i.e., any reasons for attacking the expertise of these expert

witnesses or their methodologies). The Court will consider this memorandum, if filed, and may

be willing to revisit Defendant’s request for Daubert hearings. To be clear, the hearings will not
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be conducted to serve the purpose of a fishing expedition. Rather, defense counsel must set forth

specific grounds for any inquiries regarding the requisite qualifications of each expert, and/or the

reliability of any opinion.

       New Orleans, Louisiana, this 25th day of May, 2010.




                                                      KURT D. ENGELHARDT
                                                      United States District Judge




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